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Case 1:23-cv-00224-AMN-CFH Documenti1_ Filed ea

UNITED STATES DISTRICY’ COURT . : 1 FEB 91% evan:

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*~Neetheen DISTRICT OF NEW YORK dy
__Mevtin b. Coben, pre ge __ Tr | .
23-ev- 224

(In the space above enter the full name(s) of the plaintiff(s).)

COMPLAINT (an)
-against- - i > id Q -y j WCF i
Richordsen On ‘ Orry/ -
es ei jes as Jury Trial: hts B- No

_ (eheek one)

: Bea
Da

(In. the space eabove enter the full name(s) of the defendant(s). Ifyou. ain
‘cannot fit 4 é.names of all: of the defendants in the space provided,
please write "see. attached.”. "in the space above and attach an
additional sheet of paper ‘with the full list of names. The names
: listed in the above caption must be. identical to those contained in
PartI. Adresses should not be included here.)

dL Parties in this complaints. oO

AL List your name,. "address, and telephone mumber. If you are presently: in. “eustody, include your :
_jdentification number and the: name and address of your current place of confinement. ‘Do. the.same
for any additional Plaintiffs named, - Attach: additional sheets of paper as: necessary.

Plaintiff |. Name Martin L. Colin } pw Se
Street Address C hove: Arreune 46 oY

_ County, City 0 y sto Bou A Nassau Cova

State & Zip Code le hr 771
" Telephone Number _ (S71) S6EY- 163 2

B. List all defendants. You should state the full name of the defendant, even if that defendant is a

BE overnment agency, an organization, a corporation, or‘an individual.. Include ‘the address where

er defendant may be served. Make sure that the defendant(s) listed below are identical to those
contained in‘the above. caption. Attach additional, sheets of paper as necessary. .

"Defendant! No. J Name _ _Dosselt Richandear, ree - saeciil dock
. Street Address TRS NY Field Oice |, _Sfe. {lo

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aqq Stewart freeuinte

County, City —. Nassar Cosby , Bethpage
_. State & Zip Code _ New York. } “aw LY
Telephone Number. (ste) oF & - Z. 223 |

Defendant | No, 2 ‘Naine “Das l Perey DRS Specsal leat
| _ Street Address ares NY! Field COD e Ste. ‘Ho _
7 | = . So County, City 444 Flewart Ave | 2) Nassau Co we | .

State & Zip Code ___ Be- AgL Ay U7 4
Telephone. Number C516) £3 _ ‘Sb tr

Defendant] No. 3 - - Name . Genew ro Cos h Wen. as. st N CT Ww

Street Address ww Ys. Board of Hechous — coe "

--~Gounty,-City Wo” “A. feo! Chet “Sle. x
‘State & Zip Code_AY 22 gZ Z
.Pelephone-Number. (S18 “o~ 9 274

_ Defendant|-No. 4 - Name
ef “Street Address
County, City ;
‘State & Zip Code__
‘Teléphone Number oe

II. Basis for Jurisdiction: |

Federal coprts are courts of limited jurisdiction. Only two types of cases can be. heard. in federal court:

cases involving a federal question and.cases involving diversity of citizenship of the-parties.. Under 28
U.S.C. § 1331, a case involving the United States Constitution or federal laws or treaties. is a federal
question case. "Under ‘28: U.S.C. § 1332, a case in which a citizen of one state sués a. citizen of another
state and the amount in.damages is more. ‘than. $75,000 is a diversity of citizenship case. -.

A. © ‘Whgt is the basis for federal court jurisdiction? (check all that apply)
Federal Questions lo oO Diversity of Citizenship

B. _ Ifthe basis for jurisdiction i is Federal Question, what federal Constitutional, statutory or treaty right.
. ds at issue? _

C. ‘Ifthe basis for jurisdiction i is Diversity of Citizenship, what is the state. oPcitizenship of each party?

Plaintifi(s) State(s) of citizenship _
' De efendant(s): State(s) of citizenship .

“IL. Statement of Claim:

State as briefly as possible the facts of your case. Describe how each of the defendants named in the
caption of this complaint is involved in this action, along with the dates and locations ofall relevant events.

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You may. wish to include further details such. as the names of other persons involved in the events giving
rise to your claims. Do:not cite any cases or statutes. If you intend to allege a number of related claims,
number and set forth each claim in a:separate paragraph. Attach additional sheets of paper as necessary.

LA, Wh ere did the events giving rige to your claim(s) occur? NY s Boavd of Clecto as }
Yo KA. Teer ( Street» Albany J, AY

' B. What date ‘and approximate time did the events giving rise to your claim(s) occur? © nor
avo Gove 7, 2070 » Ait 22, 2ezl aud Nan Sp, 2622,

What
happened
to you?

Who did
what?

Was anyone
clse
Involved?

Who else
saw what |
happened?

IV. Injuries: ~~

If you sustained injuries related tothe events alleged above, describe them and state what medical.
treatment,, if any, you required -and_ received. ‘ __

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Vv. ‘Relief: ~~
State what you want the Court to'do for you and the amount of monetary compensation, if any, you are

- seeking, and the basis for such compensation, :
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— ~~ ” ¥ ¥ ~~ :
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US -They task oe Thebice .

a ih sthan 15 fOr wg

1s Ase nt Ting” he votes of “a . A e Lb

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v

echeus is

' I declare under penalty of perjury that the foregoing is true and correct.
Signed this 20. day of _ tebe. Uhre, 2023 . . oO

>.” Signabire of Plaintiff Wate. A byl me

— _L Shore faeries F464

Oy ote. Baw y LY 77!

Mailing Address

- ‘elephone Number (56) 364 — 763 2

Fax Number (if you have one)

Il plaintiffs named in the caption of the complaint -must date. and sign the complaint. Prisoners

Note
- must also provide.their-inmate numbers, present place of confinement,.and address. -

——

>

For Prisoners:

I declare under penalty of perjury that on this. day of : , 20__, T.am delivering
this complaint to prison authorities to be mailed to the Pro Se Office of the United States District Court for

the Southern District of New York.

oO Signature of Plaintiff:

- -<- Inmate Number

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Case 1:23

The case of Coh

At present, New

is known as fusi¢

York is the only

highly controver
incompetent judg

Unfortunately, m
criminal tax frau
there is a judgme

may commence

cases rely on the

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politics. This is ¢
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voting has been
judicial districts

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Board of Electio

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on v. Richardson, et al., Cushman, et al, and Unknown Co-Conspirators

COMPLAINT

PREAMBLE
York State has a relatively unique way of selecting state court judges. This way
on voting, or cross-endorsements. Only eight states allow fusion voting. New
state allowing this as a method of selecting state court judges. Fusion voting is
sial and is criticized by many in that fusion voting promotes corruption,
Zes, etc.

lany aspects of federal law are dependent on state law. One example is federal
d. In such an instance, there must first be a state court judgment for fraud. Once
ont for fraud, and the transaction involved produces a taxable gain, then the IRS
an action for criminal tax fraud. The point is that the outcomes of many federal
decisions in state courts.

ctions pre-determined by party bosses, the rule of law is often jeopardized by
ne main reason that fusion voting is frowned upon. The US Supreme Court has
ce of fusion voting in general. However, the extent and manner that fusion
abused in New York was never considered by the US Supreme Court. In many
in New York, every judicial candidate is cross-endorsed, thereby, depriving

er choice - a critical and basic feature of any democratic system. The State

ns administers the way ballots and parties are organized, and has final

administrative decision making power in these matters.

In this case, the plaintiff has gone to the State Board of Elections to rectify the problem involving
federal agents that are in cahoots with a minor party official. The plaintiff has reason to believe

that federal age
information abo

In many ways, th

York State Cons
complex system
violations of the
Moreover, feder.
will have been s

gravamen of this

This action asks
State, is unconst

from blocking th

e have either blocked his efforts, or have spread false and derogatory

at him to members and staff of the State Board of Elections.

ae State Board of Elections is the guardian of the US Constitution and the New
titution. Thus, they are the gatekeeper of our democracy. Government is a

and if the election laws are not enforced, and the State Board ignores criminal
election law, then this puts our entire political and legal systems at risk.

al prosecutors will be unable to do their jobs properly because the rule-of law
ubverted. In sum, they themselves may be beholden to local politics. This is the
action, and a larger problem in New York.

for two things: first, is to find that fusion voting, as administered in New York
itutional, because it denies any voter choice. Secondly, to restrain federal agents
1¢ plaintiff’s efforts before the State Board of Elections.

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Case 1:23

This is an action

(the “SBE”). The
of New York and
the federal gover

Matters that com
campaign finance

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Statement of Facts
involving Board members and staff of the New York State Board of Elections
> authority for the creation of the SBE is based on the Constitution of the State -
i related enabling statutes. This is a state government agency partially funded by
mment.

e before the SBE include the traditional voting issues and other issues such as
e, and election law enforcement. Their jurisdiction is based on state and federal

law. The SBE receives funds from the federal government under the Help America Vote Act (the

“HAVA”) and in
the US Congress.

cludes enforcement provisions. This is a federal statute which was enacted by

The primary defendants in this matter are IRS agents that are participating in a criminal
conspiracy. In addition, this is a conspiracy that also involves two or three attorneys, a judge, and
a federal prosecutor. One objective of the conspiracy is based on the self-interest of each of the

individual consp,
commercial bank

been unlawfully

The plaintiff bel

1997, when the j
complaint for ta>
has never been ¢

past 20+ years.

irators. For example, there are funds which have been held by the State in
cs. These banks are members of the federal reserve system. These funds have
distributed directly to local politicians by members of the conspiracy.

eves the conspiracy has been in existence for some time, perhaps as early as
slaintiff first suspected such activity. This is also when he believes that a false
x fraud was filed against him by the rogue IRS agents. Nonetheless, the plaintiff
harged or indicted for any crime at anytime in his adult life, including over the

The conspiracy has never been prosecuted because the rogue IRS agents and the federal

prosecutor, who
scrutiny. This co
immunities that
criminal manipu
voting. Together
the People of the
plaintiff, and pre

This plaintiff ha:
attention of the §

are members of the conspiracy have shielded those illicit activities from public
nspiracy relies on the improper and unlawful use of judicial and prosecutorial
act to protect all members of the conspiracy. The shield also acts to foster
lation of the judicial nomination process which is made possible by fusion

, they form a grand scheme to defraud the government of the United States and
> State of New York. Now they are attempting build a case in order to frame the
vent him from identifying and exposing their illicit scheme.

A duty to investigate and enforce the election laws
s recently brought certain election law crimes involving the conspiracy to the
SBE. It is the duty of the SBE officers to investigate and enforce the election

laws, both und

x

- state and federal law. Despite the existence of prima facie evidence that one or

more crimes have been committed, the plaintiff’s communications with the SBE have been

blocked or inte

ionally mishandled. IRS agents have unlimited access to technology and

resources specifically designed for such purposes. This also includes blocking the plaintiff’s past

attempts to bring

x this matter to attention of members of the US Congress.

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The plaintiff has personally made several visits to the SBE headquarters at 40 N. Pearl Street in
Albany, NY, as well as in several written communications. The plaintiff personally delivered
official complaints on or about June 7, 2020, April 22, 2021, and May 31, 2022, and has met
with SBE staff members. Finally, on June 3, 2022, the plaintiff finally received a written letter
from SBE staff asking for more information. On July 26, 2002, the plaintiff sent a certified letter
asking for a meeting to provide such information. However, the SBE staff member never
responded, or responded to his telephone calls.

Abuses of federal criminal law....

Federal prosecutors and federal agents are allowed only limited ex-parte communications with
judges, agency administrators, and others, and only for proper purposes. They are entitled to ask
for search warrants, and other judicial orders. Unfortunately, there has been a rampant rise in
prosecutorial misconduct and official corruption which is fueled by fusion voting. During ex
parte communications, federal agents also have the opportunity to abuse these privileges. The
plaintiff has recently discovered that federal agents are spreading false and derogatory
information about him to judges, attorneys, and other government officials under the crime-fraud
exception. This|form of official misconduct raises serious concerns regarding the constitutional
requirement for|the separation of powers.

Abuse of the Parallel Proceedings regulations

Parallel proceedings permit federal agents to coordinate their activities in other official
proceedings, but only for proper purposes. Proper purposes do not include the promotion of self-
interest, corruption, or to conceal a criminal conspiracy.

SBE members are being named as a defendants since it is the plaintiff’s belief that SBE members
are being given| false and derogatory information by federal agents and are being ordered to
refrain from investigating and enforcing the election law crimes against members of the criminal
conspiracy. It is also likely that SBE members have been threatened and intimidated with phony
charges of obsttuction of justice by federal agents. The SBE makes final determinations
regarding the the approval of voting ballots which includes cross-endorsements.

Acting in violation of an act of the US Congress

The federal laws protecting voting rights are also acts of the US Congress. Thus, the crimes that
are committed under the election law must be investigated and prosecuted. In this case, federal
agents and members of the conspiracy are seeking to avoid exposure by blocking attempts by the
plaintiff to investigate and enforce the election laws. Federal immunities cannot shield federal
agents from committing crimes intended to benefit their own self-interest or political interests.

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Case 1:23

Federal agents n
of self-dealing.
physicians, doct¢

They are likely
doctors support

medical professi
patient privilege

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Attempts at bodily harm...

ow want to defeat the plaintiff at any cost. No federal agent wants to be accused
onsequently, federal agents have infiltrated the plaintiffs relationships with his
ors, and health insurance providers with the intent of causing him bodily harm.

prending more false and derogatory information about the plaintiff to gain the

nd sympathies. They are also likely using threats of charges against these
onals for obstruction of justice. These federal agents do not respect the doctor-
In court, the plaintiff will prove that federal agents have solicited the plaintiff's

physicians in order to act in a vicarious manner intended to cause bodily harm to the plaintiff.

Federal agents ar
agent, then this g

e aware that if they can get the physician to cause the harm, and not the federal
tives federal agents plausible deniability in any claims against them.

A Prayer For Relief

This is a civil meen the plaintiff is cognizant that immunity may be raised as an issue.

However, the un
proven at trial. If
from acting cont

Moreover, the p

sual circumstances of this case require that this is an issue of fact that must be
nothing else, federal judges are allowed under law to restrain federal agents
rary to acts of the US Congress.

laintiff asks this court, to recognize the facts surrounding the existence of this

unlawful behavior of federal agents, and to refer this matter to the Inspector General for Tax

Administration.
criminal inquiry

and the Director of Professional Conduct at the US Department of Justice for a
These are civil action remedies that federal courts have permitted in the past.

Once, the federal agents are no longer able to exert their undue influence on the SBE, members

of the board and

election laws.

staff of the SBE have a legal duty and will properly investigate and enforce the

Finally, the plaintiff will be 70 years old this March. He is a cancer- survivor, and his only

income is a part-
continued to deci
marriage, and thi
grandchildren.

Dated: February

time position as a university professor. The members of the conspiracy have
imate his personal finances and destroy his life. They have ruined his 30-year
ey have destroyed his relationship with his only daughter, and her two new
he plaintiff prays that this court will grant him relief.

lis (yo

Vs L. Aber pro se

20, 2023 Wy. submitted

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